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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FT. MYERS DIVISION

   NAPLES PRIDE,

         Plaintiff,
   v.                                               Case No. 2:25-cv-00291JES-KCD

   CITY OF NAPLES; NAPLES CITY
   COUNCIL; TERESA HEITMANN,
   TERRY HUTCHISON, RAYMOND
   CHRISTMAN, BETH PETRUNOFF,
   BILL KRAMER, LINDA PENNIMAN,
   and BERNE BARTON, in their official
   capacities, as City Council members;
   NAPLES POLICE DEPARTMENT; and
   CIRO DOMINGUEZ, in his official
   capacity as Naples Chief of Police,

        Defendants.
  __________________________________/


          DEFENDANTS’ UNOPPOSED MOTION REQUESTING TIME
                           LIMITATION

        Defendants, by and through the undersigned counsel, pursuant to Local Rule

  3.01, request a time limit of no more than one hour (1hr) per side to present oral

  argument.

                            LOCAL RULE 3.01(g) CONFERRAL

        On May 1, 2025, the undersigned, David Jadon, conferred with counsel for

  Plaintiff Samantha Past, who stated she had no opposition to the relief requested

  herein and was willing to defer to the Court’s discretion.
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                                                Respectfully submitted,

                                                /s/ David Jadon
                                                David Jadon
                                                Florida Bar No. 1010249

                             CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a true and correct copy of the foregoing has been
  furnished via CM/ECF on this 1 day of May, 2025, to: Samantha J. Past, Esquire,
  Daniel   B.   Tilley,   Esquire,   AMERICAN          CIVIL       LIBERTIES,    UNION
  FOUNDATION OF FLORIDA, 4343 West Flagler Street, Suite 400, Miami, FL
  33134, spast@aclufl.org; dtilley@aclufl.org; Andrew W.J. Dickman, Esquire,
  Odelsa Flores-Dickman, Esquire, Matthew R. McConnell, Esquire, DICKMAN
  LAW      FIRM,   809    Walkerbilt   Road.,      Suite   6,     Naples,   FL    34110,
  andrew@dickmanlawfirm.org;                                    ody@dickmanlawfirm.org;
  matthew@dickmanlawfirm.org; Anthony J. Wong, Esquire, Daniel B. Tilley,
  Esquire, Jonah M. Knobler, Esquire, Joshua M. Goldman, Esquire, Justin Zaremby,
  Esquire, Maxwell K. Weiss. Esquire, Thomas P. Kurland, Esquire, PATTERSON
  BELKNAP WEBB & TYLERLLP, 1133 Ave. of the Americas, New York, NY 10036,
  awong@pbwt.com;                dtilley@pbwt.com;                   jknobler@pbwt.com;
  jgoldman@pbwt.com;.            jszaremby@pbwt.com;                 maweiss@pbwt.com;
  tkurland@pbwt.com. (Attorneys for Plaintiff).


                                                /s/ David R. Jadon
                                                David R. Jadon, Esquire
                                                Florida Bar No.: 1010249
                                                Roper, Townsend & Sutphen, P.A.
                                                255 S. Orange Avenue, Suite 750
                                                Orlando, FL 32801
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                                           Telephone: (407) 897-5150
                                           Facsimile: (407) 897-3332
                                           Primary: djadon@roperpa.com
                                           Secondary: lramirez@roperpa.com
                                           Attorney for Defendants CITY OF
                                           NAPLES; NAPLES CITY COUNCIL;
                                           TERESA HEITMANN, TERRY
                                           HUTCHISON, RAYMOND
                                           CHRISTMAN, BETH PETRUNOFF,
                                           BILL KRAMER, LINDA
                                           PENNIMAN, and BERNE BARTON,
                                           in their official capacities, as City
                                           Council members; NAPLES POLICE
                                           DEPARTMENT ; and CIRO
                                           DOMINGUEZ, in his official
                                           capacity as Naples Chief of Police
